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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

GUNNER OLSON,                                           )
                                                        )
                               Plaintiff,               )
                                                        )
                          v.                            )     No. 2:20-cv-00493-JPH-MJD
                                                        )
JOHN PLASSE,                                            )
                                                        )
                               Defendant.               )

             Order Assessing and Directing Payment of Initial Partial Filing Fee

        Plaintiff Gunner Olson, a prisoner in the Vigo County Jail, sought leave to proceed without

prepayment of the filing fee (in forma pauperis) when he commenced this action. See dkt. 2. His

motion stated that he did not "have any cash or checking, savings, or other similar accounts." Id.

at 2, part II.3. A statement of financial transactions from Mr. Olson's prisoner trust account was

not attached to the motion. In the screening order of September 25, 2020, the defendant was

directed to ensure that Mr. Olson was provided with a statement of his prisoner trust account

financial transactions for filing in this action. Dkt. 5.

        Mr. Olson has now submitted a statement showing his trust account financial transactions

since he entered the jail. A review of the statement reflects an average monthly deposit of $326.00.

Pursuant to 28 U.S.C. § 1915(b)(1), the Court assesses an initial partial filing fee of sixty-five

dollars and thirty-one cents ($65.31), to be paid to the clerk of the district court no later than

November 16, 2020. Should Mr. Olson fail to pay the initial partial filing fee by this deadline, this

action may be dismissed without further notice.

        After payment of the initial partial filing fee, a collection order will be entered directing

Mr. Olson's custodian to send to the clerk twenty-percent of the deposits to Mr. Olson's prisoner



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trust account each month that the account balance exceeds ten dollars until the $350 filing fee is

paid in full. 28 U.S.C. § 1915(b)(2).

SO ORDERED.

Date: 10/20/2020




Distribution:

Gunner Olson
2063
Vigo County Jail
201 Cherry Street
Terre Haute, IN 47807

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